LANDYE BENNETT BLUMSTEIN LLP
701 WEST EIGHTH AVENUE, SUITE 1200

Case 19

ANCHORAGE, ALASKA 9950]
TELEPHONE (907) 276-5152, FAX (907) 276-8433

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-00083 «Filed 11/19/19 Entered 11/19/19 15:00:18 Doc# 222 Page 1of 20

IN UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF ALASKA

In re:

POMRENKE MINING, LLC, a Case No. 19-00083 GS
Delaware Limited Liability Company, Chapter 7

Debtor.

 

 

ORDER ON STIPULATION RESOLVING NORTHWEST GOLD DIGGERS,
LLC’S OBJECTION TO PROOF OF CLAIM 5 FILED BY DORSEY &
WHITNEY LLP

Dorsey & Whitney LLP (D&W) filed Amended Proof of Claim 5 on July 15,
2019, in the amount of $50,779.83. Northwest Gold Diggers, LLC (“NWG”), by and
through its counsel of record, filed an Objection to Proof of Claim of Claim 5 Filed by
D&W on August 6, 2019 [DE 144]. Notice of the objection to claim 5 was filed on
August 6, 2019 [DE 145].

Hearing on the objection to claim was set for November 15, 2019. Counsel for
NWG, Michelle L. Boutin, and counsel for D&W, Michael Grisham appeared at the
hearing. The parties placed a settlement and stipulation on the record that the D&W

claim is allowed as an unsecured claim in the amount of $46,971.34. The Court

accepted the stipulation, therefore, for good cause appearing,

ORDER ON STIPULATION RESOLVING NORTHWEST GOLD DIGGERS, LLC’S OBJECTION

TO PROOF OF CLAIM 5 FILED BY DORSEY & WHITNEY, LLP

In Re Pomrenke Mining, LLC, a Delaware Limited Liability Company; Case No, 19-00083
Page 1 of 2

 
LANDYE BENNETT BLUMSTEIN LLP
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IT IS HEREBY ORDERED that Proof of Claim 5 filed by Dorsey & Whitney

LLP is allowed in the amount of $46,971.34.

DATED: November 19, 2019

/s/ Gary Spraker
GARY SPRAKER
United States Bankruptcy Judge

APPROVED AS to FORM

   

 

“ /DORSEY & WHITNEY LLP

Serve: Michelle Boutin, Esq.
Joan Travostino, Esq.
Kenneth Battley, Trustee
Kathryn Perkins, Esq.
Claims Register

ORDER ON STIPULATION RESOLVING NORTHWEST GOLD DIGGERS, LLC’S OBJECTION

TO PROOF OF CLAIM 5 FILED BY DORSEY & WHITNEY, LLP

In Re Pomrenke Mining, LLC, a Delaware Limited Liability Company, Case No. 19-00083
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